
660 S.E.2d 537 (2008)
STATE of North Carolina
v.
Roque Toledo MOSQUEDA.
No. 566P07.
Supreme Court of North Carolina.
March 6, 2008.
Roque T. Mosqueda, Pro Se.
LaToya B. Powell, Assistant Attorney General, R. Stuart Albright, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 26th day of November 2007 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
